Case 2:02-cv-02983-BBD-dkv Document 100 Filed 06/03/05 Page 1 of 3 Page|D 166

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IN THE UNITED STATES DISTRICT cOURT
FOR THE WESTERN DISTRICT OF TENNE§§EERl-B PHlZ-hB
wESTERN DIVISION
nnsEHrn.D:TRGQQ

 

wAYNE ALEXANDER Leva:lsisstbn
Piaintiff, &DFOFWH'MEMHMS
vs. No. 02_2933-D v

JOSHUA A. NEWMAN, et. al.

Defendants.

 

CONSENT ORDER GRANTING DEFENDANTS' MOTIONS FOR SUMMARY JUDGMENT
AS TO INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

 

Before the Court are the summary judgment motions of Defen~
dants Newman and Whiteside on the issue of intentional infliction
of emotional distress. Based on Plaintiff’s counsel’s statement
during the pretrial conference that he consents to the granting of
the motions, the Court GRANTS the motions and the issue of
intentional infliction of emotional distress as to both defendants

is dismissed.

  

So ORDERED this -Z§f day of

This document entered on the docket she tin compliance
with %'-Iule 58 and/or 79(3) FF€CP on §§ `é ’OS

 

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APPROVED FOR ENTRY

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Honorable Bernice Donald
US DISTRICT COURT

